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                    UNITED STATES COURT OF APPEALS                          FILED
                            FOR THE NINTH CIRCUIT                            JUN 30 2025
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
EPIC GAMES, INC.,                                No. 25-2935
                                                 D.C. No.
             Plaintiff-ctr-defendant -           4:20-cv-05640-YGR
Appellee,                                        Northern District of California,
                                                 Oakland
 v.
                                                 ORDER
APPLE INC.,

             Defendant-ctr-claimant -
Appellant.

Before: S.R. THOMAS and M. SMITH, Circuit Judges, and McSHANE, Chief
District Judge.*

      Each amicus curiae must disclose whether “(i) a party’s counsel authored the

brief in whole or in part; (ii) a party or a party’s counsel contributed money that

was intended to fund preparing or submitting the brief; and (iii) a person—other

than the amicus curiae, its members, or its counsel—contributed money that was

intended to fund preparing or submitting the brief and, if so, [must] identif[y] each

such person[.]” Fed. R. App. P. 29(a)(4)(E).

      Microsoft has indicated that neither the parties nor their counsel funded its

amicus brief. But it has not disclosed whether some other person contributed



      *
             The Honorable Michael J. McShane, United States Chief District
Judge for the District of Oregon, sitting by designation.
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money to that brief. Thus, within 14 days of this order, Microsoft shall file a

disclosure consistent with Fed. R. App. P. 29(a)(4)(E)(iii).

      NetChoice and the Computer & Communications Industry Association

(CCIA), and the International Center for Law & Economics (ICLE), have indicated

that neither party funded their amicus briefs. But these amici curiae have not

disclosed whether any party’s counsel—or some other person—contributed money

that was intended to fund preparing or submitting their respective briefs. Thus,

within 14 days of this order, these amici curiae shall disclose whether (a) a party’s

counsel contributed money that was intended to fund preparing or submitting their

respective briefs, and (b) a person—other than each respective amicus curiae, its

members, or its counsel—contributed money that was intended to fund preparing

or submitting their briefs.

      The Information Technology and Innovation Foundation (ITIF) stated that

no party’s counsel contributed money for its brief, and it also made a denial

tracking the language of Fed. R. App. P. 29(a)(4)(E)(iii). However, it did not

separately disclose whether any party contributed money toward its brief. See Fed.

R. App. P. 29(a)(4)(E)(ii). Within 14 days of this order, the ITIF shall specifically

disclose whether a party contributed money that was intended to fund preparing or

submitting its brief.




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